Case 1:05-cv-00762-SLR Document 103-3 Filed 03/09/07 Page 1 of 1 PageID #: 2677




                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE
    --------------------------------------------------------------------   X
                                                                           :
   CONNECTICUT BANK OF COMMERCE,
                                                                           :
                                       Plaintiff,
                                                                           : Civil Action No. 05-762 SLR
                     - against -
                                                                           :
   THE REPUBLIC OF CONGO,
                                                                           :
                                       Defendant,

   CMS NOMECO CONGO INC.,                                                  :

                                       Garnishee.                          :
    -------------------------------------------------------------------- X
                                     CERTIFICATE OF SERVICE

            I hereby certify that I am an attorney at Greenberg Traurig, LLP, counsel for the
   Plaintiff, and that on March 9, 2007, copies of the following were served upon the parties
   listed below in the manner indicated.
            •   Notice of Dismissal Pursuant to Fed. R. Civ. P. 41(a)(1)(i)
            •   Letter to Chief Judge Robinson re: Notices of Dismissal

           VIA HAND DELIVERY                                  VIA U.S. MAIL
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   Dated: March 9, 2007                                  /s/ Dennis A. Meloro
                                                         Dennis A. Meloro (No. 4435)
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